Louis Holger. Lawful Money. 12 USC §411
dba LOUIS HOLGER EKLUND Inc. BOP #20309-006 oe | PP
CUSIP/AUTOTRIS #574369832 = hice
Medical Center For :Federal Prisoners. C Ne on.
P.O. Box 4000 ; 7 CUlg
Springfield, Missouri.

65801-4000

In The United States District Court
For The District Of Alaska
Article III 3:15-cv-00046

Louis Holger

Claimant Plant. Nokce And Claim Xot Equal

wee Nusnce. Under Abe Law.
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Parse Wymate-wyan, Avro ments Whi a4

A/MERECAN BRITESA
ACLREDTTED KREGLATRY
ASSOCLATION LAC.\
De enclanrrs.

case no. 4 WW-C ObLYY-SLG

 

Notice/Resérvation Of Rights

I reserve my right to not be compelled to perform under any contract or commercial
agreement that I did not enter knowingly, voluntarily /and intentionally. Furthermore; I
do not accept the liability of the compelled benefit of any unrevealed contract or
commercial agreement.

ALL rulings shall be made in the Best Interest of Justice. Any potential ruling
made that is not made in the Best interest of Justice is repugnant to the Best Interest
of Justice, the United States Constitution, the Alaska State Constitution, the laws of
the State of Alaska, the laws of the Republic of Alaska, the laws of the United States,
the Original 13 Colonies and the Respective Districts, international law, the United
Nations Declaration of Human Rights, and Human Rights as well.

Notice of Claims / AYhdavit

I, Inupiaq Prince Louis Holger, son of Inupiaq Princess Lottie Wanda, daughter of
Inupiaq Princess Rose of the Koonook family nomen, daughter of Inupiaq Chief Ahtungowra
of Tikigaq, operating in my official capacity as an Article III United States Speen
Court Justice, in this Article III United States Supreme Court of Record, state Bp
following: I AM a bona fide prince of the Tikigaq Tribe. Tikigaq Tribe is the O oo
living civilization on Planet Earth Today. My people have lived on, and inhabited the

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page 1 of t wt
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same plot of land for over 4,000 years. My mother, Inupiaq Princess Lottie Wanda's
grandfather, my great grandfather, Inupiaq Chief Ahtungowra was the last chief of record
prior to the commencement of routine and systematic theft of our culture, lands, and
natural resources, in the early and mid 1900's thru present times.

In pertinance to this lawsuit, I AM citing United States Constitution as the supreme
law, and authority. I cite the United States Constatution as a People of the United
States. I AM citing specific titles, chapters, and subsections of the UNITED STATES
CODE as a secondary source of authority.for the purpose of describing, and naming the
various crimes committed by AMERICAN BRITISH ACCREDITED REGISTRY ASSOCIATION Inc.,
attorney falsely impersonating a public servant in the form of a "United States District
Court Judge" Beth Phillips, and her corrupted “clerk of court" Paige Wymore—Wymn.*%<

This lawsuit will commence in the following manner: I will cite the Article, section,
clause, and or amendment to the United States Constitution that I AM iising as the
authority, and a brief description below it of exactly what the authority is, and exactly
how it is to be used. © .°"'

I will cite the specific title, chapter, and subsection of the UNTIED STATES CODE
that I AM using as my secondary source of authority, as well as a brief description
below it explaining how each named defendant has violated the law, in their routine and
systematic commission“of their crimes against humanity.

 

United States Constitution

Article III. Judicial Power

Section 1. Supreme Court and inferior courts—judges and compensation.

The judicial power of the United States, shall be vested in one Supreme Court, and in

such inferior courts as the congress may from time to time ordain and establish. The

judges, both of the Supreme Court and inferior courts, shall hold their offices during _
behavior, and shall, at stated times, recieve for their services, a compensation

which shall not be diminished during their continuance in office.

 

Section 2.

Clause 1. Subjects of jurisdiction.

The judicial power shall extend to all cases, in law and equity, arising under this
constitution, the laws of the United States, treaties made, or which shall be made, under
their authority;:.....

Clause 2. Jurisdiction of Supreme Court.
In all cases affecting ambassadors, and other public ministers and consuls, and those in
which a State shall be a party, the Supreme Court Shall have original jurisdiction.

Clause 3. Trial by jury.
The trial of all crimes, except in cases of impeachment, shall be by jury;...

Article III. Section 1. is the authority that I AM using as my evidence that the
judicial power of the United States shall be vested in one Supreme Court. I AM citing the
United-States Supreme Court as the judicial power of this lawsuit. It also explains that
the judges, both of the Supreme and. inferior courts shall hold their offices during good
behavior. I AM citing this as the authority that I AM using to prove beyond any «secre ”)
reasonable doubt that Beth Phillips was instantly removed from office from the date that
I AM able to prove beyond any reasonable doubt, with evidence filed onto the United
States Public Record (where it will never go away, and will remain available for public
review at any such time that the public desires to review it) that AMERICAN BRITISH

page 2 of 7 xo
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ACCREDITED REGISTRY ASSOCIATION Inc., attorney Beth Phillips, falsely impersonating a
public servant, in the form of a "United States District Court Judge" was using her
office to commit crimes against humanity, and waring upon the United States Constitution.

Article ITI. Section 2. Clause 1. explains that the judicial power shall extend:to ~
all cases, in law and equity, arising under the United States Constitution, and the laws
of the United States. Again, I AM citing this as the authority used used to bring this
lawsuit under the authority of the United States Supreme Court.

Article III. Clause 2. explains that the United States Supreme Court shall have
original jurisdiction in all cases affecting public ministers. I AM filing this lawsuit,
operating in my official capacity as a bona fide, elected not appointed, Article III
United States Supreme Court Justice,:and the United States Supreme Court has original
jurisdiction over this case.

Article III. Clause 3. is the authority that I AM using to peacefully demand a jury
trial in pertinance to this lawsuit, for the crimes committed, listed herein.

4rticle YY. Miscellaneous Provisions
Article VI. Miscellaneous Provisions
Clause 2. Supreme Law.
this Constitution, and the laws of the United States which shall be made in pursuance
thereof; and all treaties made, or which shall be made, under the authority of the United
States, shall be the supreme law of the land; and the judges in every state shall be
boundthereby, anything in the Constitution or laws of any state to the contrary-not with
standing.

IT AM citing Article VI. Clause 2. as the authority proving that the United States
Constitution‘is the supreme law of the land.

 

 

 

Amendment 8. Bail Punishment.
Excessive bail shall not be required, nor excessive fines imposed, nor cruel and unusual
punishments inflicted.

Amendment 8. explains that cruel and unusual: punishments shall not be inflicted. 7
I AM citing Amendment 8 as a source of authority proving that cruel and unusual yri- os:
punishment is not alowed.

Attachment 1 is a document, authored by me, titled;

“Objection to AMERICAN BRITISH ACCREDITED RP CTSTRY
ACCREDITED REGISTRY ASSOCIATION Inc., Attorney Falsely
Impersonating a United States District Court

Judge, Beth Phillips, 100% Compleetly Bogus And
Fraudulent ‘ORDER GRANTING PLAINTIFF PROVISIONAL

LEAVE TO PROCEED IN FORMA PAUPERIS AND DIRECTING
PLAINTIFF TO CORRECT TECHNICAL DEFECTS IN

COMPLAINT OR FACE DISMISSAL OF THIS ACTION*”

Notice of Joinder To Genocide, War Crimes, Crimes
Against Humanity, Kidnapping, Child Human
Trafficking, Child Human Sex Trafficking, Human
Sex Trafficking, Violent Pedophilia, Violent
Child Molestations, Violent Child Abuse And
Violent Rapes Being Perpetrated Upon Innocent
Women And Children, Lawfully Joining Beth
Phillips As An Open, Willing, Voluntary and
Seemingly Eager Conspirator.

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page 3 of 4

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Notice, And Lawful Instruction In The Best Interest Of Justice
Interest Of Justice To Clerk Of Court Paige

Wymore-Wynn To Proceed Pursuant With TITLE 28 USC

PART V CHAPTER 113 §1691 And TITLE 1 USC CHAPTER

2 §114, Or Be Subjected To The Joinder Above As Well As
Additional Criminal Liabilities For Violating

TITLE 18 USC PART 1 CHAPTER 101 §2076"

Attachment 2 consists of two documents, one is titled "ORDER" and the other is
titled "JUDGEMENT IN A CIVIL CASE" Both documents are unlawful, fraudulent, 100%
compleetly bogus, null, void and moot, for the following (not limited to) reasons?

1) Both documents are not issued pursuant with:
TITLE 28 UNITED STATES CODE. JUDICIARY AND JUDICIAL PROCEDURE. PART V. PROCEDURE. CHAPTER
113. PROCESS. §1691 Seal and teste of process.

All writs and process issuing from a court of the United States shall be under the seal -
of the court and signed by the clerk thereof.

TTILE 1 UNITED STATES CODE. GENERAL PROVISIONS. CHAPTER 2. ACTS AND RESOLUTIONS; FORMALIT
FORMALTTIES OF ENACTMENT; REPEALS; SEALING OF INSTRUMENTS. §114 Sealing of instruments.
of In all cases where a seal is necessary by law to any commission, process, or other
¢& instrument provided for by the: laws of congress, it shall be lawful to affix:the proper
— seal by making an impression therewith directly on the paper to which such seal is

¥ necessary; which shall be as valid as if made on wax or other adhesive substance.
<
vy

$ The This lawsuitgwas filed into the United States District Court for The Western ~“-":">

¢ District-Of Missouri Southern Division, and it is an identical copy of the lawsuit filed
into the United States District Court For The District Of Alaska, case no 3:18-cv-00241°™

+ case name Holger v. UNITED STATES OF AMERICA Inc.;"on October 10, 2018 (note —- another
identical copy of this lawsuit has been sent to the United States District Court For The

£ District Of Columbia as well). Attachment 2 is lacking both the seals, and signatures

st required pursuant with 28 USC $1691, and 1 USC §114 cited above.

2) Beth Phillips document titled "ORDER" (attachment 2) was written in criminal violation
of::

TITLE 18 UNITED STATES CODE. CHAPTER 47. FRAUD AND FALSE STATEMENTS. §10012Statements or
enteries generally.
(a) Except as otherwise provided in this section, whoever, in any matter within the
jurisdiction of the executive, legislative, or judicial branch of the Government of the
United States, knowingly and willfully—-
(1) falsifies, conceals, or covers up by any trick, scheme or devise a material fact;
(2) makes any materially false, fictitious, or fraudulent statement or ~ hase
representation; or
(3) makes or uses any false writing or document knowing the same to contain any
materially false, fictitious, or fraudulent statement or entry;

Peckar.awn

TITLE 18 UNITED STATES CODE. CHAPTER 47. FRAUD AND FALSE STATEMENTS. §1002 Posession of
false papers to defraud the United States.

Whoever, knowingly and with the intent to defraud the United States, or any agency
thereof, posesses any false, altered, forged, or counterfeited writing or document for “”:
the purpose of enabling another to obtain from the United States, or from any agency, ~~~

officer or agent thereof, any sum of money, shall be fined under this title or imprisoned
not more than five years, or both.

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page 4 of 4 @
Case 3:18-cv-00284-SLG Document1 Filed 12/06/18 Page 4 of 7
AMERICAN BRITISH ACCREDITED REGISTRY ASSOCIATION Inc., attorney Beth Phillips
document , “at: attachment"2, titled “ORDER” falsely claims that the case name is “LOUIS
HOLGER EEKLUND v. UNITED STATES, et al" This is false. Beth Phillips had the case name
altered. It should properly read "Louis Holger v. UNITED STATES OF AMERICA Inc." I did
not file the lawsuit as “LOUIS HOLGER EKLUND”. In‘addition AMERICAN BRITISH ACCREDITED
REGISTRY ASSOCIATION Inc., attorney Beth Phillips falsely claims that "This prisoner
pro se matter was filed by Plaintiff Louis Holger Eklund....." Again this is false. My~
name: (True-Name) is*Louis-Holger. I filed the lawsuit, as I filed all of my lawsuits as
Louis Holger. This is my name. I AM Louis Holger, a live man on the land, and a People of
the (Inited States. I AM not the corporate trust LOUIS HOLGER EKLUND Inc., CUSIP/AUTOTRIS#
574369832. In addition; AMERICAN BRITISH ACCREDITED REGISTRY ASSOCIATION Inc., attorney
Beth Phillips falsely claims that my document, attachment 1, is titled "Maxims of Law
Blacks Dictionary Tenth Edition" and additionally falsely claims that my document, ~*‘~
attachment 1, is “largely incoherent".

AMERICAN BRITISH ACCREDITED REGISTRY ASSOCIATION Inc., attorney Beth Phillips is
a fraud. She is an imposter. She is falsely impersonating a United States District Court
Judge,‘in criminal violation of:
TITLE 18 UNITED STATES CODE. CHAPTER 43. FALSE PERSONATION. §912. Officer or employee of
the United States.
Whoever falsely assumes or pretends to be an officer or employee acting under the
authority of the United States or any department, agency or office thereof, and acts as
such, or in such pretended character demands or obtains any money, paper, document, or
thing of value, shall be fined under this title or imprisoned not more than three years,
or both.

AMERICAN BRITISH ACCREDITED REGISTRY ASSOCIATION Inc., attorney Beth Phillips
is openly, willingly, voluntarilly, and seemingly eagerly waring upon the United States
Constitution, and the Laws of the United States. A simple review of the public record
will prove this to be true, beyond any reasonable doubt.

TITLE 18 UNITED STATES CODE. PART 1. CRIMES. CHAPTER 101. RECORDS AND REPORTS. §2076.

Clerk of the United States District Court.

Whoever, being a clerk of a district court of the United States, willfully refuses, or

neglects to make or forward any report, certificate, statement, or document as required

by law, shall be fined under this title or imprisoned not more than one year, or both.
On page 4 of 6, in attachment 1 operating in my official capacity as a bona fide

Article ITI United States Supreme Court Justice gave clerk of court, Paige Wymore-Wynn a

Lawful Instruction in the Best Interest of Justice to serve all named defendants with

a copy of the initial complaint, and summonses, affixed with the proper seals, and

signatures, pursuant with FRCP Rule 4(c)(3), 28 USC §1691, 1 USC §114, and I informed

clerk of court, Paige Wymore-Wynn that her failure to do so subjected her to criminal
liability for violation of 18 USC §2076, cited above.

Federal Rules of Civil Procedure. Title II Commencing an action; Service of process,
pleadings, motions, orders. Rule 4. Summons.
Rule 4. Summons
(c) Service.
(3) By a Marshal or someone specially appointed. At the plaintiff's request, the
court may order that service be made by a United States Marshal or deputy marshal or
by a person specially appointed by the court. The court must so order if the °° i-*'
plaintiff is authorized to proceed in forma pauperis under 28 USC §1915 or as a
seaman under 28 USC §1916

DZ AOW envyoke tk ciahe, On Sedu este the (out to Serve Process Gn the
DENENAENS Putouanrk With FEACP Rule YlCd). &8) @
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page 5 of F
Case 3:18-cv-00284-SLG Document 1 Filed 12/06/18 Page 5 of 7
Beth Phillips ia an AMERICAN BRITISH ACCREDITED REGISTRY ASSOCIATION Inc. >
attorney. The AMERICAN BRITISH ACCREDITED REGISTRY ASSOCIATION Inc is a/ k/a the
American BAR Association. For the purpose of public awareness I will now provide
proof, beyond any reasonable doubt, as to the exact meaning of "BRITISH ACCREDITED
REGISTRY ASSOCIATION"

Black's Law Dictionary. Tenth Edition.

accredited - vr
Of a governmental or diplomatic official approved to act as an official representative —
for one's home country while serving in a foreign country.

association -
A gathering of people for a common purpose; the persons so joined.

registry -
A place where information used by an organization is kept, esp the official records and
lists;...

ms Based upon the above legal deffinitions, from Black's Law Dictionary, Tenth
Edition, all AMERICAN BRITISH ACCREDITED REGISTRY ASSOCIATION Inc., attornies are
British diplomatic officials, reprosenting Great Britain, serving here in our nation,
gathering for their common purpose, and depositing their written records into their @

registry. TIEY ARE NOT WUDGES! | they ACE RREDOW OFFICIALS

Demand for Redress of Grievance

I, Louis Holger demand the immediate resignation / termination of employment
contract of both Beth Phillips, and Paige Wymore-Wynn. I additionally demand that the
appropriate authority / law enforcement agency immediately investigate Beth Phillips, and
Paige Wymore-Wynn for their waring upon the United States Constitution and the Laws of
the United States. I additionally demand that this investigation research the entirety
of the written record created by AMERICAN BRITISH ACCREDITED REGISTRY ASSOCIATION Inc. ;
attorney Beth Phillips and Paige Wymore-Wynn. I additionally demand that AMERICAN BRITISH
ACCREDITED REGISTRY ASSOCIATION Inc., attorney Beth Phillips be immediately taken into
custody, in order to protect the health and safety of the People of the United States. I
additionally demand $500,001.00 (five hundred thousand and one dollars) from Beth -niii:,
Phillips and $500,001.00:(five hundred thousand and one dollars) from Paige Wymore-Wynn
redeemed in lawful money pursuant with 12 USC §411.

 

Notice.

Attachment 3 consists of AMERICAN BRITISH ACCREDITED REGISTRY ASSOCIATION Inc. ,
attorney Beth Phillips" 100% compleetly bogus, and fraudulent "ORDER GRANTING PLAINTIFF
PROVISIONAL LEAVE TO PROCEED IN FORMA PAUPERIS AND DIRECTING PLAINTIFF TO CORRECT
TECHNICAL DEFECTS IN COMPLAINT OR FACE DISMISSAL OF THIS ACTION"

Attachment 4 consists of the Unanimous Declaration of Independence.

Attachment 5 consists of the United Nation's Universal Declaration of Human Rights

TITLE 25 UNITED STATES CODE. INDIANS. CHAPTER 5. PROTECTION OF INDIANS. §175 United <t-- =:
States Attorneys to represent Indians.

In all States and Territories where there are reservations or allotted Indians the United
States District Attorney (United States Attorney) shall represent them in all suits at
law and in equity.

I. Louis Holger, being a member of the federally recognised tribe Native village

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of Kotzebue, and a registered shareholder of the NANA REGIONAL CORPORATION Inc., now

invoke this right, and peacefully demand to be represented by a United States Attorney
pursuant with 25 USC §175.

4S Lesbpei Nov L6. 208
luis Holger if Date
Article III United States

Supreme Court Justice

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WASNrUCKE “Cleo A Cour’ Porge Wymore-Wyan to Provide
MR with a CoP¥Y o& rhe Wiitaavak Documernr #4. as weil /
AS TL Peovided a Sel addtvasedi StamPal enveloPe 40 mal
Me Docume tY ar MY exPease. Paige WrYMolEe — Wyn Saile/

to SHA me A CPY OB Docamet Yravl to AIS Aw X
havé not Recieved +hatRiliua. THs {5 an Ae! atttional Violation

oF \Buse S 2046 Committed by Rarae Wymoce ~WYyan

Gb

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